
247 P.3d 420 (2011)
170 Wash.2d 1024
STATE of Washington, Respondent,
v.
Justin Tye CLIFTON, Petitioner.
No. 82622-6.
Supreme Court of Washington.
February 1, 2011.

ORDER
¶ 1 Department I of the Court, composed of Chief Justice Madsen and Justices C. Johnson, Chambers, Fairhurst and Stephens, considered at its February 1, 2011, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted only on the issue of the special verdict unanimity instruction and this case is remanded to the Court of Appeals Division Three for reconsideration in light of State v. Bashaw, 169 Wash.2d 133, 234 P.3d 195 (2010).
/s/ Madsen, C.J.
CHIEF JUSTICE
